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CLERK a GREENBELT -
ATTACHMENT A ay DISTRICT OF MARYIAND AC
STIPULATION OF FACTS DEPUTY

The undersigned parties stipulate and agree that if this case had proceeded to trial, this
Office would have proven the following facts beyond a reasonable doubt. The undersigned parties
also stipulate and agree that the following facts do not encompass all of the evidence that would
have been presented had this matter proceeded to trial.

On February 23, 2023, at approximately 12:44 a.m., Prince George’s County Police
(“PGPD") officers responded to a hotel in Laurel, Maryland for a 911 call where a female caller
reported that the Defendant, LESLIE SHARP Jr. (“SHARP”), had stolen money from her and

threatened to shoot her.

When the officers arrived, they observed SHARP in the hallway outside the hotel room
referenced by the 911 caller. Upon seeing uniformed PGPD officers, SHARP entered the hotel
room referenced in the 911 call. Officers followed him inside the hotel room since the door was
left ajar as he entered. Officers saw the 911 caller inside the room and once the officers entered,
the caller informed them that SHARP had a gun and that she had seen it. SHARP denied
possession of a gun.

Officers asked SHARP to sit down and SHARP complied. The officers informed SHARP
that they needed to conduct a pat down due to the nature of the 911 call. SHARP indicated that
he did not want to be searched. While trying to conduct a pat down, SHARP acted evasively and
pulled his arms away from the officers. SHARP began reaching for a yellow “fanny pack” styled
satchel which was attached to his body. Officers then conducted a takedown of SHARP and felt
a gun through the material of the satchel. Officers handcuffed SHARP and conducted a search of
the yellow satchel, from which they seized a Smith & Wesson model M&P 9mm semiautomatic
pistol, bearing serial number HAR8417, loaded with approximately 17 rounds of 9mm
ammunition. SHARP was placed under arrest.

[cont’d]
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SHARP knowingly possessed the pistol and ammunition seized from him on February 23,
2023. An ATF firearms analysis confirmed that the recovered pistol functioned as a firearm. The
firearm was manufactured outside of Maryland, and therefore traveled in interstate and/or foreign
commerce prior to being possessed by SHARP in Maryland on February 23, 2023. Prior to
possessing the firearm and ammunition on February 23, 2023, SHARP had been—and knew that

he had been—convicted of an offense punishable by more than one year imprisonment and his
civil rights had not been restored.

SO STIPULATED: fF

Joel Créspo CZ
Brooke Oki-

Assistant United States Attorneys

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Patricia L. Richrfan, Esq.
Counsel for Defendant

